
GILDERSLEEVE, J.
—The relator applied to the board of ex&gt;cise for a license to sell strong and spirituous liquors, also wines *806and beer, tobe drunk on and off the premises No. 335 Amsterdam avenue, being the southeast corner of that avenue and'Seventy-Sixth street. The board denied the application for the following' "reasons: (1) That considering the rights and interests of the property owners and residents of the neighborhood, as well as the number o£ existing lióensed places in the vicinity of the place for which the license is sought, the board of excise is satisfied that there is no immediate public necessity or convenience to be served in granting such a license at this time. (2) That in the judgment of the board the public interests will not be served by increasing the number of saloon liquor licenses for the sale of liquors to be drunk on the licensed premises, the number of such class now in existence being in excess of 6,500, most of which are in active business operation. This number, in the opinion of the board, is sufficient to meet all the requirements of the inhabitants of the city at the present time. (3) That the relator applied for a liquor license on March 4, 1895, and that the reason above given were considered by the .board as sufficient, from the fact that several • prior applications had been rejected for the same premises, on protests made against the granting of a license at said place applied for. And the board enumerates in its return these different ap- - plications. It appears, therefore, by the return, that the commissioners exercised the discretion vested in them by law; and, that discretion not having been abused, the refusal to grant a license to the relator is not arbitrary or capricious, under the act. See People ex rel. Ryan v. Dalton, 7 Misc. Rep. 558 ; 57 St. Rep. 360 ; In re Excise License, 72 St. Rep.—; Board v. Barrie, 34 N. Y. 657 ; People v. Wright, 3 Hun, 306 ; People v. Perry, 13 Barb. 206 ; and kindred cases.
, The fact that' the relator is about to purchase and'surrender to the board an outstanding license for another place does not deprive the board of its discretion to determine-whether, in view of all the surroundings, the license for this particular place ought to be granted.
Application denied, and writ of certiorari dismissed.
